      Dated: 9/9/2020



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

                                                             }       Case No. 3:20-bk-03561
LIVINGSCAPES, LLC                                            }
3941 STEWARTS LANE                                           }       Chapter 11
Nashville, TN 37218                                          }
                                                             }       Judge Harrison

       Debtor(s)

        ORDER GRANTING APPLICATION TO EMPLOY AND RETENTION OF
         LEFKOVITZ & LEFKOVITZ, PLLC AS COUNSEL FOR DEBTOR(S)

       This matter came on for consideration on the Application for Order Approving

Employment and Retention of Lefkovitz & Lefkovitz, PLLC as Counsel for Debtor(s) (the

“Motion”). It appears that approval of employment on the terms and conditions described in the

Motion is appropriate. It further appears that notice of the Motion was properly given pursuant to

all applicable parties and that no objections were filed.

       It is therefore ORDERED that the motion is approved on the terms and conditions

described in the Motion, and Lefkovitz & Lefkovitz, PLLC is approved and authorized as counsel

for the Debtor(s).

               THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                     AS INDICATED AT THE TOP OF THE FIRST PAGE.


APPROVED FOR ENTRY:

LEFKOVITZ & LEFKOVITZ

/S/ STEVEN L. LEFKOVITZ
Steven L. Lefkovitz, No. 5953
Attorney for Debtor
618 Church Street, Suite 410
Nashville, Tennessee 37219
Phone: (615) 256-8300
                                                                      This Order has been electronically
Fax: (615) 255-4516                                                   signed. The Judge's signature and
                                                                      Court's seal appear at the top of the
Email: slefkovitz@lefkovitz.com                                       first page.
                                                                      United States Bankruptcy Court.

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